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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

SAMANTHA M. MARKLE,

Plaintiff,
V. CASE NO. 8:22-cv-511-CEH-TGW
MEGHAN MARKLE,

Defendant.

/
ORDER

THIS CAUSE came on for consideration upon the Plaintiff's Motion to
Compel Coordination of Depositions (Doc. 59).

In the present motion, the plaintiff, Samantha M. Markle, seeks to
compel the defendant, Meghan, The Duchess of Sussex, to coordinate the
depositions of six individuals (id., p. 1). Thus, the plaintiff states that she seeks to
schedule the depositions in order to comply with the discovery deadline of April 3,
2023 (id., p. 4). Notably, since the filing of her motion, United States District Judge
Charlene Edwards Honeywell granted the parties’ joint request to extend the
discovery deadline (see Doc. 61). Thus, the discovery deadline is now July 3, 2023
(id.).

The defendant has filed a response in opposition (see Doc. 68). The

defendant states that “[m]ost of the proposed non-party deponents have nothing to
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do with the statements at issue in the [plaintiff's first amended complaint]” (id., p.
2). Moreover, she asserts that the plaintiff's request is now moot because defense
counsel scheduled a time to confer with plaintiff's counsel in order to coordinate
depositions after Judge Honeywell extended the discovery deadline (id., p. 5).

Accordingly, since the defendant states that the plaintiffs motion is
moot, it will be denied. Thus, if the matter is still unresolved, the plaintiff may file a
new motion.

It is, therefore, upon consideration,

ORDERED:

That an in-person hearing on the Plaintiff's Motion to Compel
Coordination of Depositions (Doc. 59) is DENIED.

tA
DONE and ORDERED at Tampa, Florida, this 1S day of March, 2023.

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THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

 
